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DAVID LIEBRADER, ESQ. SBN 5048

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Attomey for Plaintiff
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
LN RE: ) m Re; case No is-izQsi-ieb
)
Virtual Communications Corporation, ) Chapter 11
)
Debtor, ) Adv. No.
)
)
Reva Waldo, ) CGMPLAINT OBJECTING TO
) DISCHARGEABILITY OF
Piaintiff ) DEBT {11 U.S.C. §523(a)(19);
vs. )
)
Virtual Communications Corporation, )
,. )
Defendant )
)

 

COMES NOW Creditc)r Reva Waldo (hereafter “Plaintiff”) and alieges as follows:
PRELIMINARY INFORMATION

I. Defendant Virtual Communications Corporation (hereinafier “Defendant”) is the

Debtor in this Chapter il proceeding under Titie ll ofthe United States Code, Case 18~

12951.

2. Plaintiff Reva Waido (“Piaintiff”) is an 80 year olci woman residing in Bainbridge, OH.

3. Debtor - Defendant Virtual Communications Corporation (“VCC”) is a Nevada

Corporation with a principal place of business in Las Vegas, Nevada.

 

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4. Debtor filed its Chapter 11 case on May 22, 2018.

5. The court has jurisdiction to hear his case pursuant to 28 U.S.C. §1334. This action is a

core proceeding over which this court has jurisdiction under 28 U.S.C. §157(b) (i).

Venue is proper and convenient in the United States Bankruptcy Conrt for the District of

Nevada pursuant to 28 U.S.C. §1408 et. seq.

6. Prior to commencing this adversary proceeding, Piaintit`f obtained a summary judgment

against Debtor in Dept. 30 of the Clark County District Court in an action against VCC

(Waldo v. VCC et al., case A-15-725246). That matter is set for trial against the

remaining Defendants for June 25, 2018. In addition to the order granting summary

judgment, the Court also found on Piaintift`s behaif on a motion for summary adjudication

(primarily of issues related to Nevada Securities Act violations). See Exhibit “A”,

attached

7. la the Order, Ciark County District Coui't Judge Tirn Williams found that Debtor’S sale

of a promissory note to Piaintiff was made in violation of the Nevada’ Securities Laws as

it was an unregistered security.

8. Based upon these tindings, and other facts to be introduced in the course of this

adversary proceedingj Plaintit`t` contends that her claim against VCC is not dischargeable
E..SA.,Q.,I.S,

9. The underlying Clark County District Court action was for the recovery of investment

losses. The investment at issue is an unregistered security issued by Virtual

Communications Corporation as part of an offering of securities undertaken by VCC

between 2012-2014. The investments are hereafter referred to as the “VCC Notes” or

“Note”,

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10. The VCC Note sold to Plaintiff takes the form of a 9% promissory note With a term of
18 months (renewable for an additional 6 months). Plaintiff purchased the Note on April
17, 2014 for 8111,000 and Was paid interest by VCC until January, 2015 When VCC Went
into default Plaintiff provided notice of default to VCC, and demanded repayment of
principal, interest and attorney’s fees as provided for under the Note terms. When VCC
failed to meet its obligations Plaintiff filed suit in Clark County District on September 28,
2015.

ll. 'l`he matter Was litigated, discovery Was propounded and depositions taken, including
the deposition of Plaintiff and VCC’s Chairman, Ronald Robinson. Trial is presently set
for lone 25, 2018 against Mr. Robinson and another Det`endant. 'I`hree months prior to
trial Plaintiff filed motions for summary judgment and summaiy adjudication of issues
against VCC as to whether VCC was in default under the terms of the promissory note,
and whether VCC sold securities in violations of the Nevada Securities Act.

12. .`ludge Williams heard oral argument on two occasions on these issues, and on April
10, 2018 issued his ruling Aftcrwards, findings of fact and conclusions of law Were
prepared, Which Were approved by VCC’s counsel, and submitted to Judge Williains for
signature His order Was signed, and filed with the clerk on May 3, 2018. See Exhibit “A”
attached

13. Among the Nevada Securities Act findings made by Judge Williarns was that the VCC
Note Was an unregistered security sold in violation of Nevada law, and that VCC CEO
Ronald Robinson Was a control person VCC’s sale of the unregistered security to
Plaintiff is the basis for a denial of discharge based on 1 1 U.S.C.§523(a)(19).

FIRST CAUSE OF ACTION

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'i`o Denv Dischargeabiiity of Debt under 11 U.S.C. 5523(21) (19)
14.P1aintiff repeats and repleads paragraphs 1 through 13, inclusive and by this reference
incorporates them herein
15. 11 USC § 523(a)(19) provides:

(a) A discharge under section 727, 1141, 1228(a), 1228(b), or 1328(!)) of this
title [11 USC § 727, 1141, 1228(a), 1228(b), or 1328(b)] does not discharge an
individual debtor

from any debt-

(19) tha ~~

(A) is for--

(i) the violation of any of the Federal securities laws (as that tenn is defined

in section 3(a)(47} of the Securities Exchange Act oi" 1934 [15 USC
§78c(a)(47)]), any of the State securities laws, or any regulation or order issued
under such F ederal or State securities laws; or

(ii) common law fraud, deceit, or manipulation in connection With the
purchase or sale of any security; and

(B) results, before, on, or after the date on which the petition was iiied, from~~
(i) any judgment, order, consent order, or decree entered in any Federal or
State judicial or administrative proceeding;

(ii) any settiement agreement entered into by the debtor; or

(iii) any court or administrative order for any damages, fine, penalty, citation,
restitutionary payment, disgorgement payment, attorney fee, cost, or other

payment owed by the debtor.

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58. The VCC Note sold to Plaintiff Was a security under Nevada law.
59. 'i`he VCC Note was not registered, nor exempt from registration under the laws of the
state of Nevada. Therefore, for purposes of compliance With Nevada state laW, VCC sold
unregistered securities to Plaintift`, who is entitled to damages under NRS 90.660.
61. 'l`hat on May 3, 2018, Plaintiff obtained a summary adjudication of issues after full
briefing and oral argument with a finding that the VCC Note sold to her vvas an
unregistered security sold in violation of the Nevada Securities Act, specidcally NRS
90.460 and 90.660.
62. Such debt owed from Defendant to Plaintift` is non-dischargeable pursuant to 11
U.S.C. §523(a) (19) ofthe Bankruptcy Code.
///
WHEREFORE Plaintift` prays for Jndgrnent against Defendant as follows:
1. r1"hat the debt owed by Defendant to Plaintiff totaling in excess Ot` $195,000 as
of the date of this tiling, plus interest thereon be determined non-dischargeable
pursuant to 11 U.S.C. §523 (a)(19).
2. That Plaintift’ s claim is valid, and can be enforced against any property

belonging to VCC, and that such debt is not discharged

3. For costs of suit.
4. For such other and further relief as this court may deem just and proper.
Dated: May 23, 2018 Respectfully submitted,

By: s//': David Liebrader

David Liebrader
Attorney for Plaintiff

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EXHIBIT ""A”

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Attomey for Plainttfl`

IN THE MA'ITER BETWEEN
Reva Waldo,
PLAIN'I`IFP,

V..

Renald J. Robinson, Virtual Communicatlons
Corporation, Retire Happy, LLC, Julie Minustcin
and DOES 1-10 and ROES 1-10, inclusiver

DEFENDAN`£`S

DISTRICT COURT
CLARK COUNTY. NEVADA

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{)RDER ON_MOTIONS

The following motions werelconsidered by the court1

1. Plainti&’s motion for summary judgment against Defendant Virtual Communieations

Corporation;

2, PlaintiH‘s motion for summary adjudication of issues;

3. Defendants Virtuai Communications Corp., Aiisa Davis and Roaald Robinson’s

counter motion to dismiss Piaintiff’s complaint for failure to name indispensable

parties;

4. Det`endant Alisa Davis’ motion to dismiss/motion for summary judgment/motion for

Case Number: A-15-725246»C

Case No. A-15-725246
g _Dept.: 16 ,

ORDER ON:

MOTION 'I’O DISMISS

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Steven D. Grierson

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PLAINTIFF’S M{)T!ON
FOR SUMMARY
JUDGMENT
PLAlNTIFF’S MOTION
FOR SUMMARY
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DEFENI)A'NTS’
MOTION 'I`O DISMISS
FGR FAILURE '¥`O
NAME INDISPENSIBLE
PAR'I'IES

DEFENDANT DAVIS’

APR l 5 2318

 

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judgment on the pleadings

The four motions were the subject of two heerings; one on Meroh 8, 2018, the second

on Aprii 5, 2013. Appearing for Plaintii’f was David Liebrader; appearing for Def`endants was --

Hsrold Gewerter.

FB`~lDINGS GP FACT; CONCLUSIONS OF LAW

After considering the briefs, oppositions, replies and supporting Deciarations

submitted, as well as argument by counsel at the two hearings, the Con:t rules as follows:

i.

Plaintif’f entered into a valid, binding contract with Defendant Virtual
Communications Corpotation. Based upon the sworn testimony ofVCC’s ofiicers
Ronald Robinson and Vemon Rodriguez, VCC acknowledged that it is in default
under the terms ofthe promissory note. As a resuit Plaintiff’s motion for summary
judgment against VCC is GRA}TI`ED.

Plaintiff raised the following issues in her motion for summary adjudication; (a) that
the VCC note is a security; (b) that the VCC Note was not registered nor exempt &om
registration; (o) that VCC employed an unlicensed broker dealer to sell the VCC
Notes; and (d) that Ronald Robinson is a control person under the Nevada Securities

Act. Based upon the audiorities cited by Plaintiff in her motion for sunmaq'
adjudication including NRS 90.295 and State v. Frieg_d_, 40 P. 3d 436; 1 18 Nev. l IS
{2002) and the certification from the Nevada Secretazy of State, the Court Orders that
Plajntiff’s motion for summary adjudication on the four issues raised is GRANTED.
Defendants' motion to dismiss for failure to name an indispensable perty, specifically

Provident Trust Group was the subject of extensive briefing In addition to the motion,

 

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Hon. 'l" othy Witliams
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opposition and reply the court also asked for end received supplemental briefing from
the parties, as well as out of jurisdiction authorities lodged with the court by Plaintif£
The issue of whether a self¢~direoted IRA Custodien is a necessary party such that the
Plaintii’l` lacks standing to sue is an issue of first impression in Nevada. Based upon
the filings the Court finds that Frovident Trust owed limited duties to Ptaintit`t` and did
not direct, consent, approve or disapprove ol`Plaintif‘Fs investment decisions in the
self-directed account lostcad, it was Plaintift`, the owner of the Provident Trust Group
custodial account who managed, directed and controlled the investments See _E__BQ_
David Sweet iRA v. Taylor, 4 F, Supp. 3d 1282 {E.D. Ala. 2014). Beoause Fla.intifl`
was the sole decision maker on the account, and Provident Trust Group expressiy, by
contract, declined to undertake any action to pursue remedies for default on too
investment, the C ourt finds that Provident Trust Group is not a neeessaxy or

indispensable party and on the basis DENIES Defcndant’s motion.

. 'l"he Court considered Defendant Alisa Davis’ motion for summary judgmentfmotion

to dismissfmotion forjudgment on the pleadings 'i`tie Court finds that Piaintifi has
plead sufficient material facts, including offering the sworn deposition testimony of
Ronsld Robinson that contradicts the contentions raised in Davis’ motion Because
Ms. Davis’ motion is contradicted by the sworn testimony of Mr. R.obinson, the Coort

rules that Ms. Davis’ motion is DENIED.

iT.lS 80 ORDERED:

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Submitted by: x
rader, Esq.
Attomey for Plaintiff

 

